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                                UNITED STATES DISTRICT COURT
                               CENTRAL DISTRICT OF CALIFORNIA

                                      CIVIL MINUTES - GENERAL
 Case No.        CV 19-10374-SB(Ex)                                            Date     August 4, 2022
 Title           THIMES SOLUTIONS, INC. V. TP-LINK USA CORPORATION, ET AL.




 Present: The Honorable        Charles F. Eick, United States Magistrate Judge
            Valencia Munroe                                  None                                 None
                Deputy Clerk                      Court Reporter / Recorder                   Tape No.
           Attorneys Present for Plaintiffs:                    Attorneys Present for Defendants:
                          None                                                   None
 Proceedings:              (IN CHAMBERS)


         “TP-Link USA’s Ex Parte Application to Shorten Time, etc.” filed August 3, 2022, is denied for
failure to demonstrate sufficient factual cause or legal authority for the extraordinary relief requested. This
denial is not intended, and shall not be construed, as any limitation on the District Judge’s discretion to
require the submission of appropriate information before ruling on the anticipated motion for a good faith
settlement.




cc:      Judge Blumenfeld
         All Counsel of Record
                                                                       Initials of Deputy Clerk    VMUN




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